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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

v.                                          Case No. 1:18cr19-AW/GRJ

TAFANESHA RUTH MARKMAN,

               Defendant.
_______________________________/

                    ACCEPTANCE OF PLEA OF GUILTY

      Pursuant to the Report and Recommendation of the United States Magistrate

Judge, ECF No. 69, to which there has been no timely objection, and subject to this

Court’s consideration of the plea agreement pursuant to Fed. R. Crim. P. 11, the

plea of Guilty of the Defendant to Count One of the Indictment against her is

hereby ACCEPTED. All parties shall appear before the Court for sentencing as

directed.

      SO ORDERED on July 8, 2019.

                                           s/ Allen Winsor
                                           United States District Judge
